           Case: 1:18-cv-04788 Document #: 1 Filed: 07/12/18 Page 1 of 21 PageID #:1                                                          AC€
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Plaintiff(s),                                                          6 1 :18-cv4788
                                                                          Judge Virginia M. Kendall

                                              e ilj'
 '                                                                        Magistrate Judge M. David Weisman
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                                    /   rfuA.i $5 '{+


Defendant(s).



                              COMPLAINT OF EMPLOYMENT DISCRIMINATION

 l.   This is an action for employment discrimination.

 2.   rhe plainti        t is Kt;*;l+r L € &i'Cic- J*,,q < <                                                                         of the

 county     of--e --Ol<                                                  in the state of            f L,
 3.   The defend ant           i, t-w+f ,f*kes it f                      {t-C   J a ( Q ri) {'                                     , whose

 streetaddressi,               l/f f Bacu,gftru                              c*lZu<t< Bi/d-
            D    **ir(/-fcounty)                                       lstate; . L-   qg 6o>lc'3
 (Defendant's telephone                 number) (_) -
 4.    The plaintiff sought employment or was employed by the defendant at (street address)

       h <; {:f*eg t{' f ,t,-,,Lace- r4c                                                   (city)       t3+n* t<.rr'-
       (county)                          (state;    ,f L           (zIP   coas;      &''   er   / cl3




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5.        The plaintiff lcheck one boxl

          (a) tr                 was denied employment by the defendant.

          (b) {                  *urhired   and is still employed        by the defendant.

          (c) tr                 was employed but is no longer ernployed by the defendant.

6.        The defendant discriminated against the plaintiff on or about, or beginning on or about,
          (month)filoeJ                         ,(day) ?              ,(year1    2;'17.
7.1       (Choose           paragraph 7.1 or        7.2, do not complete both.)

          (a)         The defendant is not a federal governmental agency, and the plaintiff
                      lcheck one boxl @rot Dhas not filed, a charge orcharges against the defendant

                      asserting the acts of discrimination indicated in this complaint with any of the

                      following government agencies:

                      (i)        [/,.the United States Equal Employment Opportunity Commission, on or about

                                 (month; P <. L.                @afl 2                (yeafi   ?o        11.
                      (ii) E         the Illinois Department of Human Rights, on or about

                                 (month)    kPp)      {-        (day1       I   K yeai }l i g                .




          (b)         If   charges were frled with an agency indicated above, a copy of the charge is

                      attached.      VYes, EI No, but plaintiff will file a copy of the charge within                             14 days.


          It is the policy of both the Equal Ernployment Opportunity Commission and the Illinois

          Department of Human Rights to cross-file with the other agency all charges received. The

          plaintiff has no reason to believe that this policy was not followed in this                             case.




7.2       The defendant is a federal governmental agency, and

          (a)              the   plaintiff previously filed     a Cornplaint of Employment Discrimination                    with the

                 [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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         defendant asserting the acts of discrimination indicated in this court complaint.

                         EI   Yes (month)                                   (day)_             (year)

                         E    No, did not file Complaint of Employment Discrimination

         (b)             The plaintiff received a Final Agency Decision on (month)

                         (dav)                    (vear)

         (c)             Attached is a copy of the

                         (i) Complaint
                              -              of Employment Discrimination,

                              EI Yes E No, but a copy will                   be filed within 14 days.

                         (ii) Final Agency Decision

                              fl Yes E            N0, but a copy will be filed within 14 days.


8.       (Complete paragraph                 I   only if defendant is not a federal governmental agency.)

         (a)      tr          the United States Equal Employment Opportunity Commission has not

                              issued a Notice of Right to Sue.

         @)       Mthe United States Equal Employment Opportunity Commission                                    has issued

                              a   Notice of Right to Sue, which was received by the plaintiff on

                              (month)                           @afi I      V         1year1   Td ( ,5 a copy of which
                              Notice is attached to this complaint.


9.       The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

         those that applyf:

         (a) tr           Age (Age Discrimination Employment Act).

         (b) El Color (Title VII of the Civil Rights                        Act of 1964 and 42 U.S.C. $ 198            I   ).



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         (c) tr         Disability (Americans with Disabilities Act or Rehabilitation Act)

         (d) E          National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. $ 198 I ).

         (e) {Ftu""(Title VII of the Civil Rights Act of 1964 and42U.S.C.                                     $1981).

         (0         tBlReligion (Title         vll   of the civil Rights Acr of 1964)

         (g) E          Sex (Title       VII of the Civil Rights Act of 1964)


10.      If the defendant is a state, county, municipal (city, town                        or village) or other local

         governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

         national origin (42 U.S.C. $ 1983).


I   l.   Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

         by 28 U. S.C.         $   133   l, 28 U. S.C. $ I 343(a)(3),     and 42 U.S.C.$2000e-5(fX3); for 42

         U.S.C.$1981 and $1983 by 42 U.S.C.$1988; for the A.D.E.A.by 42 U.S.C.$                                       l2ll7;    for the

         Rehabilitation Act,29 U.S.C. $ 791.


12.      The defend ant lchec:k only those that apply)
         (a) tr failed to hire the plaintiff.

         (b)    tr     terminated the plaintiffs employment.

         (c)    tr     failed to promote the plaintiff.

         @)     Mned           to reasonably accommodate the plaintiff s religion.

         (e)    tr     failed to reasonably accommodate the plaintiff s disabilities.

         O ffiiled             to stop harassment;

         (g)    tr     retaliated against the plaintiff because the plaintiff did something to assert rights
                       protected by the laws identified in paragraphs 9 and 10 above;

         (h) E/other (specifyl:
                                                Ke (- ft / t*f<-<t
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13.   The facts supporting the plaintiff s claim of discrimination are as follows:

                                                                   lJO                       -3 r ')c> r
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           9o. t3 B
                        1nc tz ff-                    I

                        9e c Btv
14.   IAGE DISCRIMINATION ONLY) Defendant knowingly, intentionally, and willfully
      discriminated against the plaintiff.                .




15.   The plaintiff demands that the case be tried by a jury.                       E   Yes    6"
16.   THEREFORE, the plaintiff asks that the court grant the following relief,to the plaintiff
      fcheck only those that apply)

      (a) E              Direct the defendant to hire the plaintiff.

      (b) E              Direct the defendant to re-employ the plaintiff.

      (c)           E    Direct the defendant to promote the plaintiff.

      (d)           {    Oirectthe defendant to reasonably accommodate the plaintiff s religion.

      (e)           tr   Direct the defendant to reasonably accommodate the plaintiff s disabilities.

      (0            E    Direct the defendant to (specifyl:             frCCor,  *.,dukfa FaZ- &e liViOq(
                    ye-efintT           { fYki Nili?-Y ,                    fi(*a t,lalz- rwerurrt iy *-
                    ?tt;d"kyQgtfi,r, s,U pal---, v.i flf v
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          (e)                  If available, grant the plaintiffappropriate injunctive relief, lost wages,
                               liquidated/double damages, front pay, compensatory damages, punitive
                               damages, prejudgment interest, post-judgment interest, and costs, including
                               regsonable attorney fees and expert witness fees.

          (h)            il    Gruntsuch other relief as the Court may find appropriate.
                                                                                                             ,




          (Plaintiff          s signature)


                              O,,   U ORr"q I*ta<-S
          (Plaintiff          s name)
          ^u^
          7gS                  g. /<-e-€ l€/L
          (Plaintiff          s street address)



          (City)         C tt icAq, O                  (state)    f,d-            fzw>-6o         C   )f

          (Plaintiff s telephone number)                 @b -           ,3r-87>r
                                                                                      Date:        7-t)-J-alg




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                                                 DrsurrssaL AND             Norce oF RcHTS
To:    Ronald E. James                                                                 From: Chicago District Office
       753 S. Keeler, Apt. #       1                                                         500 West Madison St
       Ghicago, IL 60624                                                                     Suite 2000
                                                                                             Chicago, lL 60661


                            On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL Q9 CFR 61601.7/a0
EEOC Charge llo.                                EEOC Represer,iatrve                                                Teleph,xc |.io.

                                                Sergio Maldonado,
440-2018-01555                                  !nvestigator                                                        (312) 869-8129
  HE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
     E           The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


     E           Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


     E           The Respondent employs less than the required number of employees or is not othenruise covered by the statutes.

     tl          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge

     E           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                 information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                 the statutes. No finding is made as to any other lssues that might be construed as having been raised by this charge.

     E           The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


     E           Olher (biefly state)


                                                         . NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice, or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 vears)
before you file suit may not be collectible.




Enclosu res(s)
                                                                  Julianne Bowman,
                                                                                                                         /4
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                                                                                                                                      1
                                                                                                                             (Da(e Mailed)
                                                                   District Director
cc:        GET FRESH PRODUCE
           c/o Tom H. Luet!<erne1,sr, Esq.
           Hinshaw & Culbertson, LLP
           222 N. LaSalle Street, Suite 300
           Chicago, lL 60501
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Hsm€ {indrcrfs Mr,     Ns   Mrt.t                                                                                        Ho{ne Phonr {tnel. Ara6 Godel                        0atc ot Skltr

Mr. Ronald E. James                                                                                                         {773} 33{-8721                                      1969
    Mdrg83
Sfiaet                                                                              Cily, srfils ans ZIP Code

753 g. Keeler, Apt. # 1, Ohicago, lL$S624

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  Bfilployment, includingf but not lirnited to, b*ing deni*d ryhtn to take my vreatisn dny8 snd not baing
  allowed to modify my r#grk schedula ln ordor tE attend roligious €vents.

  I believe I have hson discriminated againut because of my religion, Jehovah's Witness, my race,
  Btack, and in retrliation for engaging in protectsd activity, in violation of Title Vll of the Civil frights
  Act of 1964, as am6nd*d,



                                                                                                   }{OTARY      - wn€, ,reccsstry   Jb/   $tr}6 ard Lr6ri      AgE t6y &qqrrrnrnert*
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rFEf,i-i
 Frrsh ts Everythiag

     November 1stt' 2U'',',

     Dear Ronald:

     T'his is an informational letter to advise you of the status of your vacation selectigns that you have
     made for 2018.

     your first choice was forJuly 2,3,6 & 7. Because you would be off on the 4th for the hollday and
     assuming you would be off on the Sth as a scheduled day, this would be considered a consecutive
     week. Unfortunately, other drivers with more seniority have already bid for the July 6th and 7th. Those
     dates are now closed. However, since you had requested these dates in a consecutive week, we are
     able to consider this as a week request, and therefore approve July 2,3,4 and 5tt'. This would utilize
     two vacation days, forJuly 2 andJuly 3, withJuly 4 the Holiday and july 5 scheduled off.

 ,    Your second choice was for August 4, 11 , 17, 25 and 3l st. We are able to approve these 5 individual
      clays off. ln accordance with article 7, section 8 of the collective bargaining agreement, "for purposes
     rof pre-siheduling of vacation forthe following calendary'ea:', employees shall be limited to scheduling
      two (2) consecutive weeks of vacation and five (5) individua[ry sGh€duled days. Once this vacation pre-
      scheduling window closes on December 31, the Empl,ryer shall post the vacation schedule forthe
      calendar year with the names and dates of all employees who have pre-scheduled vacation. After
      December 3l , the limit of two (2) consecutive weeks of vacation shall not apply and employee vacation
      iequests Strall be approved on a first come, first serve basis."
       ,'   t

     Y6urthird ihoice was for March 3l't. This would be considered a 6th individual day, You would need
     tciwaituntiltheendofthebidprocesstorequeStthisdate.@hisdateisstillavailableafter
     December,31, you would be able to utilize a vacation day for it.

     Your'fourth'choicewasforSeptemberl,2gtnand2g*'. ThesedateswouldbeconsideredyourTth,Sth
     and9thindividuaidaydrequested'Agaiable
     t"--cf.roj;;L'ii:.1"g th    the birl is over for vacation,                   you are welcome to r,.qut-
     these Oatbsl As_
                      long as these dates are available you will be able to utilize vacation days for these as
             '; f ,
     well.

     As of todiy, we wil,l be scheduling you off July 2,3,4 and 5tr,. - Utilizing 2 vacation days. Wewill also
     schedule y9u gff August 4, I I, 17,25 and 3l - Utiiizing 5 vacation days. lf you would liketo make any




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         Type of Request                                                 Dates Requested
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                                                                                         CHICAGO DISIRICI
                                                                                                          OFFICE
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Fresh   ls Everythlng

  March 9, 2018

  Ronald James
  Distributed in Person

  Dear Ronald:

  We are checking in    with you again and reminding you to submit your request for additional days off.
  We spoke with you about this before and we are reminding you again in this letter. We understand
  from our prior discussions with you that certain days are important to you, and want to confirm the
  dates still available if you submit a request.

 Civen that you have based prior requests on your religious practices, we are taking this further step of
 communicating with your directly to make sure you act quickly to obtain the days you want. On
 January 10, 2018, Melissa Anzona, KevinJeziorny, and I spoke to you about the vacation selection
 plocess in the collective bargaining agreement. We informed you that the initial process of selection
 which we are obligated to follow under the collective bargaining agreement had been completed. We
 also explained that we posted a notice to all ernployees, explaining their right to request additional
 days on a first come, first served basis.

 Considering your prior statements with respect to your religious observance, please get your requests
 in ASAP. Please provide a new form to confirm the days you still would like off, as your prior
 submission may not be accurate, and we do not want to make incorrect assumptions. Melissa wrote
                                                                      , and we reiterated that wewanffiTToleT-
 us your new request          righGffi;-            O eN?       e4) rr4ft/Lul 7 | trftR        ti <rrr* f>o/t-.1>e*rio/'(fuq-
 Despite our requests, as of this writing, you have not submitted any additional requests for the
 originally denied days. To make sure we are both working on accurate information, the days you
 previously requested, but were denied, and their current status is as follows:

 March 31, 2018: Available.           L)ctr       66,r>1,      -to .@JB1- r-tESE >AcS
                                                                                      ^]o-
 July 6, 2018: No Longer Available
 July 7,201 8: No Longer Available
 September         I,   2018: No Longer Available



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Part   l   To be completed bv Emplovee

                                      Department:

Date or Dates of Request:

lmmediate Supervisor:

Reason      for Request (Job Change, Work Schedule, Dress/Appearance Code, Other):




Length of Time:

Suggested religious accom modation:




I have read and understand the company's policy on religious accommodation. My religious beliefs and
practices, which result in this request for a religious accommodation, are sincerely held.
                          requested above may not be         but that the
provide a reasonable religious accommodation that does not create an undue



Signature:

Employee

Date:
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